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lN THE uNlTED sTATEs DlsTRlcT couRT Fli-ED B ____ D-C.
FOR THE WEsTERN DlsTRlcT 0F TENNESSEE '
wEsTERN DlvlsloN 05 JUL -8 PH h= l3

 

UNITED STATES OF AMER|CA _ w OF' Hj;'»MEM
P|aintiff

VS.
CR. NO. 05-20121-D

N|CHOLAS QUOTEZ CRAWFORD

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
re ort date of Thursda Jul 21 2005. at 9:00 a.m., in Courtroom 3. ch Floor of the

 

Federa| Building, Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 8 day Of Ju|yl 2005.

    
 

N|CE B. DO ALD
N|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in compliance
Wim Hule :-;= ami/or az(b) Fach on 7'/

 

 

 

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This notice confirms a copy of the document docketed as number 25 in
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Honorable Bernice Donald
US DISTRICT COURT

